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                              IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE SOUTHERN DISTRICT OF OHIO
                                          EASTERN DIVISION

                                                             §
          IN RE                                              §         Chapter 11
                                                             §
                                                             §         Case No. 22-50804
          VOLUNTEER ENERGY SERVICES, INC.,                   §
                                                             §         Judge C. Kathryn Preston
                          DEBTOR.                            §
                                                             §         Hearing: April 21, 2022
                                                             §         at 1:30 pm (Eastern Time)
                                                             §

                     SEQUENT ENERGY MANAGEMENT, LLC’S LIMITED OBJECTION
                   TO DEBTOR’S SECOND OMNIBUS MOTION FOR ENTRY OF AN ORDER
                     AUTHORIZING AND APPROVING THE REJECTION OF CERTAIN
                    EXECUTORY CONTRACTS EFFECTIVE AS OF THE PETITION DATE
                                       Related to Docket No. 69

                   Sequent Energy Management, LLC (“Sequent”) hereby files this Limited Objection (the

        “Objection”) to the Debtor’s Second Omnibus Motion for Entry of an Order Authorizing and

        Approving the Rejection of Certain Executory Contracts Effective as of the Petition Date [Docket

        No. 69] (the “Rejection Motion”) and in support thereof, respectfully submit the following:

                                              Preliminary Statement

                   1.    The Rejection Motion requests that the Court grant the Debtor two forms of relief.

        First, the Debtor requests the rejection of certain agreements by and between the Debtor and

        Sequent. Second, the Debtor requests that rejection be given retroactive effect to March 25, 2022,

        the date that the Debtor filed bankruptcy. The Rejection Motion was filed as an omnibus motion

        seeking relief against approximately thirty-two (32) separate entities, including Sequent, that

        provided either gas or electricity to the Debtor prior to and/or following the Petition Date.

                   2.    Sequent does not object to the mere rejection of its agreements with the Debtor at

        this time; whether to reject is the Debtor’s choice based on its reasonable business judgment and



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        the rights granted by the Bankruptcy Code. Where Sequent objects is in making the proposed

        rejection nunc pro tunc to the Petition Date. As described below nunc pro tunc relief is the

        exception, not the rule, and should only be granted where equitable. Such relief is not equitable

        here and would serve to cut off legitimate administrative-expense claims for gas or electricity

        provided to (and utilized by) the Debtor post-petition. Such a result unfairly prejudices entities like

        Sequent and provides an undeserved windfall to the Debtor. Accordingly, any order allowing the

        Debtor to reject the agreements listed in the Rejection Motion should be effective as of the entry

        of the order while keeping the parties’ other rights intact, including rights with respect to potential

        administrative-expense claims.

                                               Jurisdiction and Venue

                   3.   The United States Bankruptcy Court for the District of Ohio (the “Court”) has

        jurisdiction over this Objection pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of

        Reference entered in this District.

                   4.   This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper in this

        Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                    Background

                   5.   The Debtor and Sequent entered into various agreements (the “Sequent

        Agreements”) for the supply of natural gas by Sequent to the Debtor in the course of its operations.

        The current Sequent Agreements include: (i) Base Contract for Sale and Purchase of Natural Gas

        dated as of November 1, 2006, between Sequent and Volunteer, together with the Special

        Provisions dated November 1, 2006 relating thereto and all transaction confirmations, schedules,

        exhibits, attachments and/or annexes attached thereto or with respect thereto, (ii) the Natural Gas

        Asset Management Agreement dated as of March 25, 2021, by and between the Debtor and



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        Sequent, as successor to Sequent Energy Management, L.P., and (iii) one or more term agreements

        entered into pursuant to the Base Contract. These agreements are “forward contracts” within the

        meaning of the Bankruptcy Code. Though the Rejection Motion does not delineate the specific

        contracts with Sequent that the Debtor proposes to reject, Sequent infers the Sequent Agreements

        are the subject of the Rejection Motion.1

                   6.       Pursuant to the Sequent Agreements, prior to and following the Petition Date,

        Sequent provided natural gas to the Debtor for use in its operations. Prior to the Petition Date,

        Sequent provided the Debtor with natural gas worth approximately $8.5 million for which Sequent

        remains unpaid. Sequent will file a timely proof of claim for such unpaid prepetition amounts

        including prepetition contract interest, fees, and other charges.

                   7.       Leading up to the Petition Date, Sequent had been negotiating a critical vendor

        agreement with Volunteer in order to keep gas flowing from Sequent to Volunteer during what

        was believed to be a consensual, lender supported Chapter 11 case. However, as lender support

        eroded, Sequent suddenly stopped communicating on Friday, March 25, 2022. Ultimately, this

        became the Petition Date.

                   8.       In the absence of communication from the Debtor, but in the spirit of cooperation

        to what had been represented to be a consensual sale process, Sequent began attempting to give

        the Debtor notice of suspension of shipments of gas (and not termination) which became effective

        on Monday, March 28, 2022, pursuant to the Sequent Agreements.

                   9.       In the interim time period, Sequent continued to provide gas to the Debtor on March

        25, the Petition Date itself, as well as the following Saturday and Sunday, March 26 and 27,



        1
                   Sequent further objects to the proposed order attached to the Rejection Motion to the extent that it does not
                   specify which agreements with Sequent that the Debtor seeks to reject. Any order entered with respect to the
                   Rejection Motion should delineate the specific agreements being rejected.

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        respectively. This post-petition gas is likely worth several hundred thousand dollars, though

        Sequent’s accounting for the month of March has not been finalized. The Debtor always had the

        right under the Sequent Agreements to defer or delay shipments of gas due to demand,

        maintenance, or the other business issues, but chose not to. Accordingly, Sequent was obligated to

        deliver gas, which was received by the Debtor. It is this post-petition provision of gas that concerns

        Sequent with respect to the proposed retroactive rejection of the Sequent Agreements.

                                                        Limited Objection

                   10.     Through this Objection, Sequent objects to the Debtor’s request to reject the

        Sequent Agreements nunc pro tunc to March 25, 2022 (the “Petition Date”). The facts of this case

        reflect that the retroactive rejection of the Sequent Agreements to the Petition Date is neither

        appropriate nor equitable. Permitting the Debtor to reject the Sequent Agreements, effective as of

        the Petition Date, would result in an undue burden on Sequent, which continued to provide gas to

        that the Debtor presumably used in its post-petition operations. Retroactive rejection, which seeks

        to rewrite history between the parties by going back to the Petition Date notwithstanding later

        events, also runs afoul of the Supreme Court’s per curiam decision in Roman Catholic Archdiocese

        of San Juan, Puerto Rico v. Acevedo Feliciano holding that a nunc pro tunc order must “reflect

        the reality” of what actually occurred and “cannot make the record what it is not.” 2 The Sequent

        Agreements existed in the days post-petition where Sequent provided gas to the Debtor, and any

        order rejecting them should reflect that.

                   11.     Section 365 of the title 11 of chapter 11 of the United States Code (the “Bankruptcy

        Code”) permits a debtor in possession to reject an executory contract or unexpired lease. 3 Courts,



        2
                   See 140 S.Ct. 696, 206 L.Ed.2d 1 (2020) (quoting Missouri v. Jenkins, 495 U.S. 33, 49 (1990)).
        3
                   See 11 U.S.C. § 365(a); see also Univ. Med. Cent. V. Sullivan (In re Univ. Med. Ctr.), 973 F.2d 1065, 1075
                   (3d Cir. 1992).

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        generally hold that “section 365(a) is most faithfully read as making court approval a condition

        precedent to the effectiveness of a trustee’s rejection of [an executory contract]. Therefore, the

        date of court approval … controls.” 4 From the case law in this District, it appears that the

        longstanding practice has been to make the effective date of the order approving rejection the

        effective date of rejection itself.5 The Debtor does not cite to any contravening case law from the

        Southern District of Ohio supporting retroactive or nunc pro tunc relief in this specific context.

                   12.       It is true that some other courts have permitted the retroactive application of an

        order rejecting an executory contract, but “only after balancing the equities in a particular case.” 6

        “In the section 365 context, this means that bankruptcy courts may enter retroactive orders of

        approval, and should do so when the balance of equities preponderates in favor of such

        remediation,”7 such as when the creditor itself causes an unnecessary delay in the rejection

        process.8 Other court have suggested that retroactive rejection should only extend to the date of

        the filing of the motion itself, and only then in the absence of unfair prejudice. 9




        4
                   Thinking Machs. Corp. v. Mellon Fin. Servs. Corp. #1 (In re Thinking Machines Corp.), 67 F.3d 1021, 1025
                   (1st Cir. 1995) (holding that “rejection under section 365(a) does not take effect until judicial approval is
                   secured”); see also In re DBSI, Inc., 409 B.R. 720, 733 (Bankr. D. Del. 2009) (stating that “[t]he majority of
                   courts, including the Bankruptcy Court for the District of Delaware, hold that court approval is a ‘condition
                   precedent’ to an effective [executory contract] rejection.”).
        5
                   See In re Federated Dep’t Stores, Inc., 131 B.R. 808, 814 (S.D. Ohio 1991) (determining that the appropriate
                   effective date or rejection was entry of the order approving rejection) (citing with approval, In re Revco D.S.,
                   Inc., 109 B.R. 264 (Bankr. N.D. Ohio 1989)).
        6
                   In re Chi-Chi’s, Inc., 305 B.R.396, 399 (Bankr. D. Del. 2004) (citing In re Thinking Machines Corp., 67 F.3d
                   at 1028).
        7
                   Thinking Machs. Corp., 67 F.3d 1021, 1025 (1st Cir. 1995)
        8
                   See In re Jamesway Corp., 179 B.R. 33, 39 (Bankr. S.D. N.Y. 1995) (allowing retroactive rejection where
                   [t]he particular landlords which are adversely affected are those, which through their own improper actions,
                   occasioned the delay which creates the uncertainty” regarding the date of rejection).
        9
                   See In re Garfinckels, Inc., 118 B.R. 154, 154 (Bankr. D.D.C. 1990) (declining to extend retroactive rejection
                   past the entry of the order rejecting a lease but recognizing that rejection as of the filing of the motion could
                   be appropriate in the absence of prejudice to the non-debtor party).

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                   13.   In this case, even if the Court goes against prior authority from Federated Dep’t

        Stores, retroactive rejection to the Petition Date is not equitable or necessary with respect to the

        Sequent Agreements. Because Sequent stopped shipping gas pursuant to its suspension notice

        effective March 28, 2022, outstanding post-petition amounts have not continued to accrue. Unless

        the Debtor changes course completely, decides to continue operating, and enters into new

        agreements with Sequent, the balance owed to Sequent is fixed (not including interest or other

        charges, if any). Sequent will not ship new gas to the Debtor. But to the extent it already did so

        post-petition between the Friday filing and the Monday effectiveness of the suspension notice, the

        benefit of that gas has been realized by the Debtor and its estate. Administrative-expense status is

        designed to compensate parties for providing goods and services to debtors in possession and

        incentivize others to do the same.        Sequent should not be prohibited from seeking the

        administrative-expense claim to which it might be entitled by operation of a retroactive rejection

        order. Any order rejecting the Sequent Agreements should be effective upon entry of the order so

        as to allow parties like Sequent that provided gas or electricity to the Debtor post-petition to seek

        payment for such provision as administrative expenses. Any other result is inequitable.

                   14.   The Debtor’s blanket statement that prejudice does not exist because affected

        counterparties, such as Sequent, will have received notice of the proposed rejection, misses the

        point. By the time the Debtor filed the Rejection Motion, Sequent already provided post-petition

        gas to the Debtor based, in part, on the expectation that it would be able to seek payment for having

        done so. The prejudice at issue comes from retroactively cutting that right—which would involve

        a process already set out by the Bankruptcy Code—off completely in the context of rejection rather

        than on the merits. This Court is more than capable of determining whether parties like Sequent




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        should be afforded administrative-expense claims in exchange for having provided a benefit to the

        Debtor post-petition.

                   WHEREFORE, Sequent respectfully requests that the Court deny the Debtor’s request to

        reject the Sequent Agreements nunc pro tunc as of the Petition Date and deem any such rejection

        to be effective as of the date of the Court’s order approving the rejection of the Sequent

        Agreements.


          Dated: April 15, 2022                       Respectfully submitted,

                                                      FOLEY & LARDNER LLP

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                                                      COUNSEL FOR    SEQUENT                  ENERGY
                                                      MANAGEMENT, LLC




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                                         CERTIFICATE OF SERVICE

                I do hereby certify that on April 15, 2022, a true and correct copy of the foregoing pleading
        was served via CM/ECF to all parties authorized to receive electronic notice in this case and to the
        parties on the attached Master Service List by U.S. Mail, first class, postage, prepaid not receiving
        ECF.

                                                              /s/ John P. Melko__________________
                                                              John P. Melko




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Master Service List (as of 04/15/2022 06:00:32)
                       NAME                                           ADDRESS1                                ADDRESS2                           ADDRESS3             ADDRESS4     CITY            STATE   ZIP
ADAM N GIRARD F/K/A EGC LTD.                      ATTN ADAM N GIRARD                         232 ROCKY FORK DR S                                                                   COLUMBUS        OH      43230
ADAMS COUNTY TREASURER OFFICE                     ATTN LISA A NEWMAN, TREASURER              110 W MAIN ST, RM 135                                                                 WEST UNION      OH      45693
AEP                                               ANITA ADAMS                                1 RIVERSIDE PLAZA                                                                     COLUMBUS        OH      43215-2372
AEP                                               JASMAN J. CLAY                             1 RIVERSIDE PLAZA                                                                     COLUMBUS        OH      43215-2372
AEP                                               850 TECH CENTER DRIVE                                                                                                            GAHANNA         OH      43230
AEP                                               OHIO CHOICE OPERATIONS                     700 MORRISON ROAD                                                                     GAHANNA         OH      43230
AEP                                               KEVIN VASS                                 700 MORRISON ROAD                                                                     GAHANNA         OH      43230
AES CORPORATION - OHIO                            TANYA DORNBUSCH                            P.O. BOX 1247                                                                         DAYTON          OH      45401-1247
ALLEGHENY COUNTY TREASURER OFFICE                 ATTN JOHN K. WEINSTEIN, COUNTY TREASURER   ROOM 108, COURTHOUSE             436 GRANT STREET                                     PITTSBURGH      PA      15219
ALLEN COUNTY TREASURER OFFICE                     ATTN KRISTA BOHN, TREASURER                301 N MAIN ST, RM 201 & 203                                                           LIMA            OH      45801-4434
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ARM ENERGY MANAGEMENT, LLC                        ATTN CARTER GADDIS, SR DIR ORIGINATION     20329 STATE HIGHWAY 249          SUITE 450                                            HOUSTON         TX      77070
ASHLAND COUNTY TREASURER OFFICE                   ATTN ANGIE MCQUILLEN, COUNTY TREASURER     ASHLAND COUNTY COURTHOUSE        142 W 2ND ST                                         ASHLAND         OH      44805
ASHTABULA COUNTY TREASURER OFFICE                 ATTN ANGIE MAKI-CLIFF, TREASURER           ASHTABULA COUNTY COURTHOUSE      25 W JEFFERSON ST                                    JEFFERSON       OH      44047
ATHENS COUNTY TREASURER OFFICE                    ATTN RIC WASSEMAN, TREASURER               15 S COURT ST, RM 334                                                                 ATHENS          OH      45701
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B. RILEY FINANCIAL SERVICES                       ATTN TOM BUCK, SENIOR MANAGING DIRECTOR    299 PARK AVENUE                  21ST FLOOR                                           NEW YORK        NY      10171
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CENTERPOINT ENERGY                                (F/K/A VECTREN ENERGY DELIVERY OF OHIO)    HEATHER SCHROEDER                ONE VECTREN SQUARE                                   EVANSVILLE      IN      47708
CENTERPOINT ENERGY                                (F/K/A VECTREN ENERGY DELIVERY OF OHIO)    JAY VANZANT                      ONE VECTREN SQUARE                                   EVANSVILLE      IN      47708
CENTERPOINT ENERGY                                (F/K/A VECTREN ENERGY DELIVERY OF OHIO)    IRA ECHO                         ONE VECTREN SQUARE                                   EVANSVILLE      IN      47708
CENTERPOINT ENERGY                                (F/K/A VECTREN ENERGY DELIVERY OF OHIO)    DANA MYERS                       ONE VECTREN SQUARE                                   EVANSVILLE      IN      47708
CENTERPOINT ENERGY                                (F/K/A VECTREN ENERGY DELIVERY OF OHIO)    MARIA SOLANO                     ONE VECTREN SQUARE                                   EVANSVILLE      IN      47708
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COLUMBIA GAS OF KENTUCKY (CKY)                    EDER AYALA                                 290 W NATIONWIDE BLVD                                                                 COLUMBUS        OH      43215
COLUMBIA GAS OF KENTUCKY (CKY)                    JOY KEITH                                  290 W NATIONWIDE BLVD                                                                 COLUMBUS        OH      43215
COLUMBIA GAS OF KENTUCKY (CKY)                    FRANK NINO                                 290 W NATIONWIDE BLVD                                                                 COLUMBUS        OH      43215
COLUMBIA GAS OF KENTUCKY (CKY)                    LYNN BURKE                                 290 W NATIONWIDE BLVD                                                                 COLUMBUS        OH      43215
COLUMBIA GAS OF KENTUCKY (CKY)                    STEVE WOOSLEY                              290 W NATIONWIDE BLVD                                                                 COLUMBUS        OH      43215
COLUMBIA GAS OF OHIO (COH)                        KENT KOCH                                  290 W NATIONWIDE BLVD                                                                 COLUMBUS        OH      43215
COLUMBIA GAS OF OHIO (COH)                        EDER AYALA                                 290 W NATIONWIDE BLVD                                                                 COLUMBUS        OH      43215
COLUMBIA GAS OF OHIO (COH)                        JOY KEITH                                  290 W NATIONWIDE BLVD                                                                 COLUMBUS        OH      43215
COLUMBIA GAS OF OHIO (COH)                        LYNN BURKE                                 290 W NATIONWIDE BLVD                                                                 COLUMBUS        OH      43215
COLUMBIA GAS OF OHIO (COH)                        FRANK NINO                                 290 W NATIONWIDE BLVD                                                                 COLUMBUS        OH      43215
COLUMBIA GAS OF OHIO (COH)                        STEVE WOOSLEY                              290 W NATIONWIDE BLVD                                                                 COLUMBUS        OH      43215
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COLUMBIA GAS TRANSMISSION CORP.                   (COLUMBIA GAS TRANSMISSION LLC)            USMAN KHAN                       700 LOUISIANA STREET                                 HOUSTON         TX      77002
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CONSUMERS ENERGY COMPANY                  JESSE T SUTTON                             1945 W. PARNALL ROAD                                                                                      JACKSON        MI        49201
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DEFIANCE COUNTY TREASURER OFFICE          ATTN VICKIE S MYERS, TREASURER             500 W SECOND ST, STE 101                PO BOX 278                                                        DEFIANCE       OH        43512
DELAWARE COUNTY TREASURER OFFICE          ATTN DONALD E RANKEY JR, TREASURER         145 N UNION ST, 1ST FL                                                                                    DELAWARE       OH        43015
DOMINION ENERGY - OHIO                    (F/K/A THE EAS OHIO GAS COMPANY)           DINA LONGO                              1201 E 55TH ST.; PO BOX 5759                                      CLEVELAND      OH        44103
DOMINION ENERGY - OHIO                    (F/K/A THE EAS OHIO GAS COMPANY)           LAURA WHITKOFSKI                        1201 E 55TH ST.; PO BOX 5759                                      CLEVELAND      OH        44103
DOMINION ENERGY - OHIO                    (F/K/A THE EAS OHIO GAS COMPANY)           AYDEN CANAVOS                           1201 E 55TH ST.; PO BOX 5759                                      CLEVELAND      OH        44103
DOMINION ENERGY - OHIO                    (F/K/A THE EAS OHIO GAS COMPANY)           1201 E 55TH ST.                         1201 E 55TH ST.; PO BOX 5759                                      CLEVELAND      OH        44103
DPL - DAYTON POWER & LIGHT COMPANY        TANYA DORNBUSCH                            1900 DRYDEN ROAD                                                                                          DAYTON         OH        45439
DRAKE COUNTY TREASURER OFFICE             ATTN SCOTT J ZUMBRINK, TREASURER           504 S BROADWAY, 1ST FL                  COURTHOUSE                                                        GREENVILLE     OH        45331
DTE ENERGY TRADING INC                    ATTN AMY GILLFEATHER                       414 SOUTH MAIN                          SUITE 200                                                         ANN ARBOR      MI        48104
DUKE ENERGY OHIO, INC.                    GUSTAVO DIAZ                               315 MAIN STREET                                                                                           CINCINNATI     OH        45202
DUKE ENERGY OHIO, INC.                    SCOTT NICHOLSON                            315 MAIN STREET                                                                                           CINCINNATI     OH        45202
DUKE ENERGY OHIO, INC.                    ATTN: GEN MGR, GAS COMMERCIAL OPERATIONS   PO BOX 960                                                                                                CINCINNATI     OH        45201-0960
DUKE ENERGY OHIO, INC.                    JEFF L. KERN                               139 E. FOURTH ST.                       EM025                                                             CINCINNATI     OH        45201-0960
DUKE ENERGY OHIO, INC.                    526 SOUTH CHURCH ST.                                                                                                                                 CHARLOTTE      NC        28202
DUKE ENERGY OHIO, INC.                    MITCH MARTIN                               315 MAIN STREET                                                                                           CINCINNATI     OH        45202
DUKE ENERGY OHIO, INC.                    CITYGATE OPERATIONS                        315 MAIN STREET                                                                                           CINCINNATI     OH        45202
DUKE ENERGY OHIO, INC.                    LAVONNNA FOSTER                            315 MAIN STREET                                                                                           CINCINNATI     OH        45202
EASTERN GAS TRANSMISSION & STORAGE INC.   (FKA DOMINION ENERGY TRANSMISSION, INC)    TAMMI MARTIN                            707 EAST MAIN STREET, 18TH FL                                     RICHMOND       VA        23219
EASTERN GAS TRANSMISSION & STORAGE INC.   (FKA DOMINION ENERGY TRANSMISSION, INC)    JOHN HAYES                              925 WHITE OAKES BLVD                                              BRIDGEPORT     WV        26330
EASTERN GAS TRANSMISSION & STORAGE UNC.   F/K/A DOMINION ENERGY TRANSMISSION, INC.   ATTN SHARAD MATHUR, CREDIT RISK MGMT.   925 WHITE OAKES BLVD                                              BRIDGEPORT     WV        26330
ECO-ENERGY NATURAL GAS, LLC               ATTN HEATHER PAXTON                        6100 TOWER CIRCLE                       SUITE 500                                                         FRANKLIN       TN        37067
EPA - REGION 3                            1650 ARCH ST                                                                                                                                         PHILADELPHIA   PA        19103-2029
EPA - REGION 4                            ATTN ATLANTA FEDERAL CENTER                61 FORSYTH ST SW                                                                                          ATLANTA        GA        30303-3104
EPA - REGION 5                            77 W. JACKSON BLVD.                                                                                                                                  CHICAGO        IL        60604
ERIE COUNTY TREASURER OFFICE              ATTN CALEB A STIDHAM, TREASURER            ERIE COUNTY OFFICE BLDG                 247 COLUMBUS AVE, STE 115                                         SANDUSKY       OH        44870
FAIRFIELD COUNTY TREASURER OFFICE         ATTN JAMES N BAHNSEN, TREASURER            210 E MAIN ST, RM 206                                                                                     LANCASTER      OH        43130
FAYETTE COUNTY TREASURER OFFICE           ATTN PENNY J PATTON , REASURER             133 S MAIN ST, STE 304                                                                                    WASHINGTON COURT
                                                                                                                                                                                                              OHHOUSE   43160
FERC-FEDERAL ENERGY REGULATORY COMMISS.   888 FIRST STREET, NE                                                                                                                                 WASHINGTON     DC        20426
FIRST ENERGY                              SUPPLIER SERVICES                          76 SOUTH MAIN STREET                                                                                      AKRON          OH        44308
FIRST ENERGY                              JUSTIN GAWNE                               76 SOUTH MAIN STREET                                                                                      AKRON          OH        44308
FIRST ENERGY                              MELISSA KAPELUCK                           76 SOUTH MAIN STREET                                                                                      AKRON          OH        44308
FIRST ENERGY                              HYUN PARK                                  76 SOUTH MAIN STREET                                                                                      AKRON          OH        44308
FIRST ENERGY                              GENERAL CONTACT                            76 SOUTH MAIN STREET                                                                                      AKRON          OH        44308
FRANKLIN COUNTY TREASURER OFFICE          ATTN CHERYL BROOKS SULLIVAN, TREASURER     373 S HIGH ST, 17TH FL                                                                                    COLUMBUS       OH        43215-6306
FULTON COUNTY TREASURER OFFICE            ATTN CHARLENE E LEE, TREASURER             152 S FULTON ST, STE 155                                                                                  WAUSEON        OH        43567
GALLIA COUNTY TREASURER OFFICE            ATTN ROBERT J JACKS, TREASURER             18 LOCUS ST, RM 1264                                                                                      GALLIPOLIS     OH        45631-1264
GEAUGA COUNTY TREASURER OFFICE            ATTN CHRIS HITCHCOCK, TREASURER            OPERA HOUSE                             211 MAIN ST, STE 1-A                                              CHARDON        OH        44024-1249
GREENE COUNTY TREASURER OFFICE            ATTN KRAIG A HAGLER, TREASURER             15 GREENE ST                                                                                              XENIA          OH        45385
GUERNSEY COUNTY TREASURER OFFICE          ATTN JAMES CALDWELL, TREASURER             GUERNSEY COUNTY ADMIN BLDG              627 WHEELING AVE, STE 201                                         CAMBRIDGE      OH        43725
HAHN LOESER & PARKS LLP                   (COUNSEL TO OFFICIAL COMMITTEE OF          UNSECURED CREDITORS)                    ATTN: LAWRENCE E. OSCAR, ESQ.     200 PUBLIC SQUARE, SUITE 2800   CLEVELAND      OH        44114
HAHN LOESER & PARKS LLP                   (COUNSEL TO OFFICIAL COMMITTEE OF          UNSECURED CREDITORS)                    ATTN: DANIEL A. DEMARCO, ESQ.     200 PUBLIC SQUARE, SUITE 2800   CLEVELAND      OH        44114
HAHN LOESER & PARKS LLP                   (COUNSEL TO OFFICIAL COMMITTEE OF          UNSECURED CREDITORS)                    ATTN: CHRISTOPHER B. WICK, ESQ.   200 PUBLIC SQUARE, SUITE 2800   CLEVELAND      OH        44114
HAHN LOESER & PARKS LLP                   (COUNSEL TO OFFICIAL COMMITTEE OF          UNSECURED CREDITORS)                    ATTN: ROCCO I. DEBITETTO, ESQ.    200 PUBLIC SQUARE, SUITE 2800   CLEVELAND      OH        44114
HAMILTON COUNTY TREASURER OFFICE          ATTN JILL A SCHILLER, TREASURER            138 E COURT ST, RM 402                                                                                    CINCINNATI     OH        45202
HANCOCK COUNTY TREASURER OFFICE           ATTN J STEVE WELTON, TREASURER             HANCOCK COUNTY COURTHOUSE               300 S MAIN ST                                                     FINDLAY        OH        45840
HARDIN COUNTY TREASURER OFFICE            ATTN DENISE K ALTHAUSER , TREASURER        ONE COURTHOUSE SQ, STE 230                                                                                KENTON         OH        43326
HARRISON COUNTY ASSESSOR                  ATTN JOSEPH R. 'ROCKY' ROMANO              301 WEST MAIN STREET                                                                                      CLARKSBURG     WV        26301
HARRISON COUNTY TREASURER OFFICE          ATTN VICKI SEFSICK, TREASURER              COMMUNITY IMPROVEMENT COPORATION        538 N MAIN ST, STE A                                              CADIZ          OH        43907
HENRY COUNTY TREASURER OFFICE             ATTN DIANA WACHTMAN, TREASURER             660 N PERRY ST, STE 204                                                                                   NAPOLEON       OH        43545
HIGHLAND COUNTY TREASURER OFFICE          ATTN VICKIE L WARNOCK                      PO BOX 824                                                                                                HILLSBORO      OH        04513
HIGHLAND COUNTY TREASURER OFFICE          ATTN: VICKIE L WARNOCK                     119 GOVERNER FORAKER PL                                                                                   HILLSBORO      OH        45133
HOCKING COUNTY TREASURER OFFICE           ATTN DIANE SARGENT, TREASURER              1 E MAIN ST                             PO BOX 28                                                         LOGAN          OH        43138
HOLMES COUNTY TREASURER OFFICE            ATTN LESLEE MAST, TREASURER                75 E CLINTON ST, STE 105                                                                                  MILLERSBURG    OH        44654
HURON COUNTY TREASURER OFFICE             ATTN ROLAND TKACH, TREASURER               12 E MAIN ST, STE 300                                                                                     NORWALK        OH        44857
ICE MILLER LLP                            ATTN JOHN C CANNIZZARO, PARTNER            ARENA DISTRICT 250 WEST STREET          SUITE 700                                                         COLUMBUS       OH        43215-7509
INTERNAL REVENUE SERVICE                  ATTN IRS SERVICE CENTER                    P O BOX 802503                                                                                            CINCINNATI     OH        45280-2503
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INTERNAL REVENUE SERVICE                ATTN CENTRALIZED INSOLVENCY OPERATION      PO BOX 7346                                                                               PHILADELPHIA     PA   19101-7346
INTERNAL REVENUE SERVICE                ATTN: IRS SERVICE CENTER                   550 MAIN ST                                                                               CINCINNATI       OH   45202
INTERNAL REVENUE SERVICE LOCAL OFFICE   21309 BERLIN RD UNIT 13                                                                                                              GEORGETOWN       DE   19947
INTERNAL REVENUE SERVICE LOCAL OFFICE   600 ARCH STREET                                                                                                                      PHILADELPHIA     PA   19106
INTERNAL REVENUE SERVICE LOCAL OFFICE   611 S. DUPONT HWY                                                                                                                    DOVER            DE   19904
INTERNAL REVENUE SERVICE LOCAL OFFICE   844 KING ST                                                                                                                          WILMINGTON       DE   19801
ISAAC WILES & BURKHOLDER, LLC           ATTN DAVID WHITTAKER, PRTNR (BANKRUPTCY)   TWO MIRANOVA PLACE                        STE. 700                                        COLUMBUS         OH   43215-5098
ISAAC WILES & BURKHOLDER, LLC           ATTN JOHN D. JOLLEY, PARTNER (CORPORATE)   TWO MIRANOVA PLACE                        STE. 700                                        COLUMBUS         OH   43215-5098
ISAAC WILES & BURKHOLDER, LLC           ATTN PHILIP K. STOVALL, ASSOCIATE          TWO MIRANOVA PLACE                        STE. 700                                        COLUMBUS         OH   43215-5098
JACKSON COUNTY ASSESSORS OFFICE         ATTN DEBBIE MURDOCK, BUSINESS DEPUTY       106 NORTH STREET WEST                                                                     RIPLEY           WV   25271
JACKSON COUNTY TREASURER OFFICE         ATTN B LEE HUBBARD, CPA - TREASURER        226 E MAIN ST, 3RD FL                                                                     JACKSON          OH   45640
JEFFERSON COUNTY TREASURER OFFICE       ATTN RAYMOND M AGRESTA, TREASURER          301 MARKET ST, RM 104                                                                     STEUBENVILLE     OH   43952
KANAWHA COUNTY OFFICE OF THE ASSESSOR   ATTN KASEY TUCKER, BUSINESS UNIT           409 VIRGINIA STREET EAST                                                                  CHARLESTON       WV   25301
KENTUCKY DEPT OF REVENUE                501 HIGH ST                                                                                                                          FRANKFORT        KY   40601-2103
KENTUCKY PUBLIC SERVICE COMMISSION      P.O. BOX 615                               211 SOWER BOULEVARD                                                                       FRANKFORT        KY   40602-0615
KENTUCKY STATE TREASURER                ATTN UNCLAIMED PROPERTY DIVISION           1050 US HIGHWAY 127 SOUTH, STE 100                                                        FRANKFORT        KY   40601
KNOX COUNTY TREASURER OFFICE            ATTN SHELLEY COON, TREASURER               117 E HIGH ST, STE 103                                                                    MOUNT VERNON     OH   43050
LAKE COUNTY TREASURER OFFICE            ATTN MICHAEL ZUREN, TREASURER              105 MAIN ST                                                                               PAINESVILLE      OH   44077
LAWRENCE COUNTY TREASURER OFFICE        ATTN TRESA L BAKER, TREASURER              111 S 4TH ST                                                                              IRONTON          OH   45638
LICKING COUNTY TREASURER OFFICE         ATTN ROY VAN ATTA, TREASURER               20 S SECOND ST                                                                            NEWARK           OH   43055
LOGAN COUNTY TREASURER OFFICE           ATTN RHONDA STAFFORD, TREASURER            100 S MADRIVER ST                                                                         BELLEFONTAINE    OH   43311
LORAIN COUNTY AUDITOR OFFICE            ATTN K CRAIG SNODGRASS, CPA, CGFM          LORAIN COUNTY ADMIN BLDG                  226 MIDDDLE AVE, 2ND FL                         ELUROA           OH   44035
LUCAS COUNTY TREASURER OFFICE           ATTN LINDSAY M WEBB, TREASURER             ONE GOVERNMENT CTR, STE 500                                                               TOLEDO           OH   43604
MADISON COUNTY TREASURER OFFICE         ATTN STACEY MCKENZIE, TREASURER            1 N MAIN ST                               PO BOX 675                                      LONDON           OH   43140-0675
MAHONING COUNTY TREASURER OFFICE        ATTN DANIEL R YEMMA, TREASURER             120 MARKET ST, 1ST FL                                                                     YOUNGSTOWN       OH   44503
MARION COUNTY TREASURER OFFICE          ATTN JAN DRAPER, TREASURER                 222 W CENTER ST                                                                           MARION           OH   43302
MARSHALL COUNTY ASSESSORS OFFICE        ATTN AMANDA LOCKHART                       BUSINESS AND COMMERCIAL TAX DEPUTY        PO BOX 554                                      MOUNDSVILLE      WV   26041
MARSHALL COUNTY ASSESSORS OFFICE        ATTN: ERIC BUZZARD                         MARSHALL COUNTY COURTHOUSE                600 7TH ST                                      MOUNDSVILLE      WV   26041
MCDERMOTT WILL & EMERY LLP              ATTN GREGG A. STEINMAN, ASSOCIATE          333 SE 2ND AVENUE                         SUITE 4500                                      MIAMI            FL   33131-2184
MCDERMOTT WILL & EMERY LLP              ATTN DANIEL THOMSON, ASSOCIATE             ONE VANDERBILT AVENUE                                                                     NEW YORK         NY   10017-3852
MCDERMOTT WILL & EMERY LLP              ATTN DARREN AZMAN, PARTNER                 ONE VANDERBILT AVENUE                                                                     NEW YORK         NY   10017-3852
MCDERMOTT WILL & EMERY LLP              ATTN NATALIE A. ROWLES, ASSOCIATE          ONE VANDERBILT AVENUE                                                                     NEW YORK         NY   10017-3852
MEDINA COUNTY TREASURER OFFICE          ATTN JOHN A BURKE, TREASURER               MEDINA COUNTY ADMIN BLDG                  144 N BROADWAY                                  MEDINA           OH   44256
MEIGS COUNTY TREASURER OFFICE           ATTN PEGGY S YOST, TREASURER               100 E SECOND ST                                                                           POMEROY          OH   45769-0231
MERCER COUNTY TREASURER OFFICE          ATTN DAVID E WOLTERS, TREASURER            101 N MAIN ST, RM 201                                                                     CELINA           OH   45822
MGU - MICHIGAN GAS UTILITIES            RHONDA E MCCORMICK                         711 STARLITE DR                                                                           BENTON HARBOR    MI   49022
MGU - MICHIGAN GAS UTILITIES            GREGG GRIFFIN                              711 STARLITE DR                                                                           BENTON HARBOR    MI   49022
MGU - MICHIGAN GAS UTILITIES            SHANNON BURZUCKI                           711 STARLITE DR                                                                           BENTON HARBOR    MI   49022
MGU - MICHIGAN GAS UTILITIES            RICH STASIK                                711 STARLITE DR                                                                           BENTON HARBOR    MI   49022
MGU - MICHIGAN GAS UTILITIES            IRENE ISAIS                                200 E. RANDOLPH ST.                                                                       CHICAGO          IL   60601-6302
MGU - MICHIGAN GAS UTILITIES            NICHOLAS KRZEMINSKI                        711 STARLITE DR                                                                           BENTON HARBOR    MI   49022
MIAMI COUNTY TREASURER OFFICE           ATTN JIM STUBBS, TREASURER                 201 W MAIN ST, 1ST FL                                                                     TROY             OH   45373
MICHCON - DTE                           THOMAS JEFF GORENFLO                       ONE ENERGY PLAZA                                                                          DETROIT          MI   48226
MICHCON - DTE                           ALMIR ALIJAGIC                             ONE ENERGY PLAZA                                                                          DETROIT          MI   48226
MICHCON - DTE                           TYLER RUSH                                 ONE ENERGY PLAZA                                                                          DETROIT          MI   48226
MICHCON - DTE                           SHERYL MALONEY                             ONE ENERGY PLAZA                                                                          DETROIT          MI   48226
MICHCON - DTE                           DTE_GCC ACCOUNT                            ONE ENERGY PLAZA                                                                          DETROIT          MI   48226
MICHIGAN DEPARTMENT OF TREASURY         ATTN UNCLAIMED PROPERTY DIVISION           PO BOX 30756                                                                              LANSING          MI   48909
MICHIGAN DEPARTMENT OF TREASURY         ATTN: UNCLAIMED PROPERTY DIVISION          7285 PARSONS DR                                                                           DIMONDALE        MI   48821
MICHIGAN DEPT OF TREASURY               ATTN CUSTOMER CONTACT DIVISIONMBT UNIT     PO BOX 30059                                                                              LANSING          MI   48909
MICHIGAN DEPT OF TREASURY               ATN: CUSTOMER CONTACT DIVISIONMBT UNIT     AUSTIN BLDG                               430 W ALLEGAN ST                                LANSING          MI   48922
MICHIGAN PUBLIC SERVICE COMMISION       ATTN: DAN SCRIPPS, COMMISSIONER, CHAIR     7109 W SAGINAW HWY                                                                        LANSING          MI   48917
MICHIGAN PUBLIC SERVICE COMMISSION      ATTN DAN SCRIPPS, COMMISSIONER, CHAIR      PO BOX 30221                                                                              LANSING          MI   48909
MONROE COUNTY TREASURER OFFICE          ATTN TAYLOR G ABBOTT, TREASURER            101 N MAIN ST, RM 21                                                                      WOODSFIELD       OH   43793
MONTGOMERY COUNTY TREASURER OFFICE      ATTN JOHN MCMANUS, TREASURER               451 W THIRD ST                                                                            DAYTON           OH   45422
MORGAN COUNTY TREASURER OFFICE          ATTN RANDY WILLIAMS, TREASURER             THE RIECKER BLDG                          155 E MAIN ST                                   MCCONNELSVILLE   OH   43756
MORROW COUNTY TREASURER OFFICE          ATTN MICHAEL D GOFF, TREASURER             COURT HOUSE                               48 E HIGH ST                                    MOUNT GILEAD     OH   43338-1493
MUSKINGUM COUNTY TREASURER OFFICE       ATTN TODD A HIXSON, TREASURER              MUSKINGUM COUNTY COURTHOUSE               401 MAIN ST                                     ZANESVILLE       OH   43701
NATALIE GIRARD F/K/A EGC LTD.           ATTN NATALIE GIRARD                        232 ROCKY FORK DR S                                                                       COLUMBUS         OH   43230
NEXUS GAS TRANSMISSION LLC, (US)        ERMA JOHNSON                               5400 WESTHEIMER COURT                                                                     HOUSTON          TX   77056-5310
NEXUS GAS TRANSMISSION LLCX (US)        ATTN ANDREW MORENO, ACCOUNT REP            5400 WESTHEIMER COURT                                                                     HOUSTON          TX   77056-5310
NOBLE COUNTY TREASURER OFFICE           ATTN MARILYN BOND, TREASURER               290 COURTHOUSE                                                                            CALDWELL         OH   43724
NORTHERN DISTRICT OF WEST VIRGINIA      ATTN WILLIAM J. IHLENFELD, II, U.S. ATTY   FREDRICK P STAMP JR FED BLDG &            US COURTHOUSE; 1125 CHAPLINE ST STE 3000        WHEELING         WV   26003
OFFICE OF THE WV ATTORNEY GENERAL       ATTN PATRICK MORRISEY, ATTORNEY GENERAL    STATE CAPITOL COMPLEX, BLDG. 1, RM E-26   1900 KANAWHA BLVD. E                            CHARLESTON       WV   25305
OHIO DEPARTMENT OF TAXATION             ATTN OHIO DEPARTMENT OF TAXATION           4485 NORTHLAND RIDGE BLVD.                                                                COLUMBUS         OH   43229
OHIO DEPARTMENT OF TAXATION             ATTN BUSINESS TAX DIV-COMM. ACTIVITY TAX   P O BOX 16158                                                                             COLUMBUS         OH   43216-6158
OHIO DEPARTMENT OF TAXATION             ATTN OHIO DEPARTMENT OF TAXATION           P O BOX 16560                                                                             COLUMBUS         OH   43216-6560
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OHIO DEPARTMENT OF TAXATION               ATTN BUSINESS TAX DIVISION                 P O BOX 182101                                                                   COLUMBUS        OH   43218-2101
OHIO DEPARTMENT OF TAXATION               ATTN COMPLIANCE BUSINESS TAX DIVISION      PO BOX 2678                                                                      COLUMBUS        OH   43216-2678
OHIO DEPT OF TAXATION                     4485 NORTHLAND RIDGE BLVD                                                                                                   COLUMBUS        OH   43229
OHIO DEPT OF TAXATION                     30 E BROAD STREET                          22ND FLOOR                                                                       COLUMBUS        OH   43215
OHIO DEPT OF TAXATION                     ATTN BANKRUPTCY DIVISION                   PO BOX 530                                                                       COLUMBUS        OH   43216-0530
OTTAWA COUNTY TREASURER OFFICE            ATTN ANTHONY L HATMAKER, TREASURER         COURT HOUSE                             315 MADISON ST, RM 201                   PORT CLINTON    OH   43452
PA DEPARTMENT OF REVENUE                  ATTN PA DEPARTMENT OF REVENUE              P O BOX 280405                                                                   HARRISBURG      PA   17128-0405
PA DEPARTMENT OF REVENUE                  ATTN PA DEPARTMENT OF REVENUE              PO BOX 280407                                                                    HARRISBURG      PA   17128-0407
PA DEPARTMENT OF REVENUE                  ATTN PA DEPARTMENT OF REVENUE              PO BOX 280905                                                                    HARRISBURG      PA   17128-0905
PA DEPARTMENT OF REVENUE                  ATTN: PA DEPARTMENT OF REVENUE             LOBY, STRAWBERRY SQ                                                              HARRISBURG      PA   17128-0101
PALMER ENERGY COMPANY, INC.               ATTN MARK R. FRYE, PRESIDENT               5577 AIRPORT HIGHWAY                                                             TOLEDO          OH   43615
PANHANDLE EASTERN PIPE LINE COMPANY, LP   KELSI BOWMAN                               1300 MAIN STREET (P.O.BOX 4967)                                                  HOUSTON         TX   77002
PANHANDLE EASTERN PIPE LINE COMPANY, LP   ADAORA OFOMA                               P O BOX 204037                                                                   DALLAS          TX   75320-4037
PAULDING COUNTY TREASURER OFFICE          ATTN LOU ANN WANNEMACHER, TREASURER        115 N WILLIAMS ST                       PO BOX 437                               PAULDING        OH   45879
PENNSYLVANIA PUBLIC UTILITY COMMISSION    ATTN SECRETARYS BUREAU                     COMMONWEALTH KEYSTONE BUILDING          400 NORTH ST 2ND FLOOR, ROOM-N201        HARRISBURG      PA   17120
PENNSYLVANIA PUBLIC UTILITY COMMISSION    ATTN BAS - FISCAL SECTION                  400 NORTH STREET                                                                 HARRISBURG      PA   17120
PENNSYLVANIA PUBLIC UTILITY COMMISSION    ATTN BUREAU OF ADMIN SVCS FISCAL SECTION   P.O. BOX 3265                                                                    HARRIBURG       PA   17105-3265
PENNSYLVANIA STATE TREASURY               ATTN UNCLAIMED PROPERTY DIVISION           4TH FL, RIVERFRONT OFFICE CTR           1101 SOUTH FRONT ST                      HARRISBURG      PA   17104-2516
PEOPLES NATURAL GAS (PNG)                 JASON DALTON                               200 E. RANDOLPH ST.                                                              CHICAGO         IL   60601-6302
PEOPLES NATURAL GAS (PNG)                 STEVEN KOLICH                              200 E. RANDOLPH ST.                                                              CHICAGO         IL   60601-6302
PEOPLES NATURAL GAS (PNG)                 WILHELMINA SPEICHER                        P O BOX 6050                                                                     CAROL STREAM    IL   60197-6050
PEOPLES NATURAL GAS (PNG)                 ATTN: SENIOR ATTORNEY                      375 NORTH SHORE DRIVE                   SUITE 600                                PITTSBURGH      PA   15212
PERRY COUNTY TREASURER OFFICE             ATTN THERESA MOORE, TREASURER              212 S MAIN ST, UPPER LEVEL              PO BOX 288                               NEW LEXINGTON   OH   43764
PICKAWAY COUNTY TREASURER OFFICE          ATTN ELLERY S ELICK, TREASURER             110 ISLAND RD, STE E                                                             CIRCLEVILLE     OH   43113
PIKE COUNTY AUDITOR OFFICE                ATTN KAYLA SLUSHER, AUDITOR                230 WAVERLY PLAZA, STE 200                                                       WAVERLY         OH   45690-1222
PJM INTERCONNECTION, L.L.C.               ATTN HELEN BURNLEY, SR. CLIENT MANAGER     2750 MONROE BLVD                                                                 AUDOBON         PA   19403
PJM INTERCONNECTION, L.L.C.               (PJM SETTLEMENTS, INC.)                    HELEN BURNLEY                           2750 MONROE BLVD                         AUDUBON         PA   19403
PJM INTERCONNECTION, L.L.C.               (PJM SETTLEMENTS, INC.)                    JESSE R. DIAZ                           2750 MONROE BLVD                         AUDUBON         PA   19403
PJM INTERCONNECTION, L.L.C.               (PJM SETTLEMENTS, INC.)                    CREDIT HOTLINES                         2750 MONROE BLVD                         AUDUBON         PA   19403
PJM INTERCONNECTION, L.L.C.               (PJM SETTLEMENTS, INC.)                    MARK MILLION                            2750 MONROE BLVD                         AUDUBON         PA   19403
PNC BANK N.A.                             ATTN DAVID KEITH, SENIOR VICE PRESIDENT    THE TOWER AT PNC PLAZA                  300 FIFTH AVENUE                         PITTSBURGH      PA   15222-2401
PNC BANK N.A.                             ATTN MICHAEL ETIENNE, SR VICE PRESIDENT    THE TOWER AT PNC PLAZA                  300 FIFTH AVENUE                         PITTSBURGH      PA   15222-2401
PNC BANK N.A.                             ATTN TODD W MILENIUS                       THE TOWER AT PNC PLAZA                  300 FIFTH AVENUE                         PITTSBURGH      PA   15222-2401
POCAHONTAS COUNTY ASSESSOR'S OFFICE       ATTN JOHNNY PRITT                          900 10TH AVENUE                         SUITE I                                  MARLINTON       WV   24954
PORTAGE COUNTY TREASURER OFFICE           ATTN BRAD CROMES, TREASURER                449 S MERIDIAN ST                       PO BOX 1217                              RAVENNA         OH   44266
PREBLE COUNTY AUDITOR OFFICE              ATTN LAVON WRIGHT, AUDITOR                 101 E MAIN ST                           PO BOX 361                               EATON           OH   45320-0361
PRESTON COUNTY ASSESSOR                   ATTN CONNIE R. ERVIN                       106 W. MAIN ST                          SUITE 101                                KINGWOOD        WV   26537
PUBLIC UTILITIES COMMISSION OF OHIO       ATTN ROBERT FADLEY, DIRECTOR               SERVICE MONITORING & ENFORCEMENT DEPT   180 EAST BROAD STREET                    COLUMBUS        OH   43215-3793
PUBLIC UTILITIES COMMISSION OF OHIO       P O BOX 715343                                                                                                              CINCINNATI      OH   45271-5343
PUTMAN COUNTY TREASURER OFFICE            ATTN TRACY WARNECKE, TREASURER             245 E MAIN ST, STE 203                                                           OTTAWA          OH   45875
PUTNAM COUNTY ASSESSOR                    ATTN GARY WARNER                           12093 WINFIELD ROAD                     SUITE 3                                  WINFIELD        WV   25213
RANDOLPH COUNTY ASSESSORS OFFICE          4 RANDOLPH AVE                             ROOM 101                                                                         ELKINS          WV   26241
RICHLAND COUNTY TREASURER OFFICE          ATTN SHERIFF SALES, TREASURER              50 PARK AVENUE E                                                                 MANSFIELD       OH   44902
ROCKIES EXPRESS PIPELINE LLC              JOHN DROZD                                 370 VAN GORDON STREET                                                            LAKEWOOD        CO   80228-1519
ROCKIES EXPRESS PIPELINE LLC              DEBORAH FISHEL                             370 VAN GORDON STREET                                                            LAKEWOOD        CO   80228-1519
ROSS COUNTY TREASURER OFFICE              ATTN DAVID JEFFERS, TREASURER              ROSS COUNTY COURTHOUSE                  2 N PAINT ST, STE F                      CHILLICOTHE     OH   45601
SANDUSKY COUNTY TREASURER OFFICE          ATTN KIMBERLY FOREMAN, TREASURER           100 N PARK AVE, STE 112                                                          FREMONT         OH   43420
SCOITO COUNTY TREASURER OFFICE            ATTN BILL OGG, TREASURER                   602 7TH ST, RM 102                                                               PORTSMOUTH      OH   45662
SEMCO                                     PATTY SCHNEIDER                            1411 THIRD STREET                       SUITE A                                  PORT HURON      MI   48060
SEMCO                                     TAM SPENCER                                1411 THIRD STREET                       SUITE A                                  PORT HURON      MI   48060
SEMCO                                     HEATHER RIVARD                             1411 THIRD STREET                       SUITE A                                  PORT HURON      MI   48060
SEMCO                                     MELISSA DEEG                               1411 THIRD STREET                       SUITE A                                  PORT HURON      MI   48060
SEMCO                                     RYAN HOUCK                                 1411 THIRD STREET                       SUITE A                                  PORT HURON      MI   48060
SEMCO                                     ROXANN ZMOLIK                              1411 THIRD STREET                       SUITE A                                  PORT HURON      MI   48060
SENECA COUNTY TREASURER OFFICE            ATTN PAUL HARRISON, TREASURER              109 S WASHINGTON ST, STE 2105                                                    TIFFIN          OH   44883
SEQUENT ENERGY MANAGEMENT LLC             ATTN BRETT KRIEG                           1200 SMITH STREET                       SUITE 900                                HOUSTON         TX   77022-4374
SHELBY COUNTY TREASURER OFFICE            ATTN JOH COFFIELD, TREASURER               SHELBY COUNTY ANNEX,                    129 E COURT ST, 3RD FL                   SIDNEY          OH   45365
SHELL ENERGY NORTH AMERICA (US) LP        ATTN BOB FILIPEK, ORIGINATIONS             1000 MAIN STREET                        LEVEL 12                                 HOUSTON         TX   77002
SNYDER BROTHERS                           ATTN ANDREW SINGH                          P.O. BOX 1022                           1 GLADE PARK EAST                        KITTANING       PA   16201
SOUTHERN DISTRICT OF OHIO                 ATTN KENNETH L. PARKER, U.S. ATTORNEY      FEDERAL BLDG                            200 W SECOND ST, STE 600                 DAYTON          OH   45402
SOUTHERN DISTRICT OF OHIO                 ATTN KENNETH L. PARKER, U.S. ATTORNEY      221 E 4TH ST, STE 400                                                            CINCINNATI      OH   45202
SOUTHERN DISTRICT OF OHIO                 ATTN KENNETH L. PARKER, U.S. ATTORNEY      303 MARCONI BLVD, STE 200                                                        COLUMBUS        OH   43215
STARK COUNTY TREASURER OFFICE             ATTN ALEXANDER A ZUMBAR, TREASURER         110 CENTRAL PLAZA S, STE 250                                                     CANTON          OH   44702-1410
STATE OF KENTUCKY ATTORNEY GENERAL        ATTN DANIEL CAMERON                        700 CAPITOL AVE, STE 118                                                         FRANKFORT       KY   40601-3449
STATE OF MICHIGAN ATTORNEY GENERAL        ATTN DANA NESSEL                           G. MENNEN WILLIAMS BLDG, 7TH FL         525 W OTTAWA ST - PO BOX 30212           LANSING         MI   48909
STATE OF OHIO ATTORNEY GENERAL            ATTN COLLECTIONS ENFORCEMENT SECTION       ATTN: BANKRUPTCY UNIT                   30 E BROAD ST 14TH FL                    COLUMBUS        OH   43215
STATE OF OHIO ATTORNEY GENERAL            ATTN DAVE YOST                             30 E BROAD ST                           14TH FL                                  COLUMBUS        OH   43215
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STATE OF PENNSYLVANIA ATTORNEY GENERAL   ATTN JOSH SHAPIRO                             16TH FL, STRAWBERRY SQ                                                                   HARRISBURG       PA   17120
SUMMIT COUNTY FISCAL OFFICE              ATTN KRISTEN M SCALISE, FISCAL OFFICER        OHIO BLDG, TREASURER DIVISION        175 S MAIN ST, 3RD FL                               AKRON            OH   44308
TENNESSEE GAS PIPELINE COMPANY, LLC      VERONICA ESPARZA                              PO BOX 734034                                                                            DALLAS           TX   73403
TENNESSEE GAS PIPELINE COMPANY, LLC      PRESTON TROUTMAN                              P.O. BOX 2511                                                                            HOUSTON          TX   77252-2511
TENNESSEE GAS PIPELINE COMPANY, LLC      CHRISTOPHE BROWN                              PO BOX 734034                                                                            DALLAS           TX   73403
TENNESSEE GAS PIPELINE COMPANY, LLC      TED CHAVEZ                                    P.O. BOX 2511                                                                            HOUSTON          TX   77252-2511
TENNESSEE GAS PIPELINE COMPANY, LLC      NAGA SURAPAREDDY                              P.O. BOX 204208                                                                          DALLAS           TX   75320-4208
TEXAS EASTERN TRANSMISSION, LP           ASHLEY ALCOTT                                 5400 WESTHEIMER COURT                                                                    HOUSTON          TX   77056-5310
TEXAS EASTERN TRANSMISSION, LP           WILLIAM FREELAND                              P O BOX 301563                                                                           DALLAS           TX   75303-1563
TEXLA ENERGY MANAGEMENT INC.             ATTN TYLER MARCUM, TRADING                    1100 LOUISIANA                       SUITE 4700                                          HOUSTON          TX   77002
TREBEL LLC                               ATTN SCOTT BELCASTRO                          1216 LEXINGTON AVENUE                SUITE 301                                           MANSFIELD        OH   44907
TROUTMAN PEPPER HAMILTON SANDERS LLP     (COUNSEL TO ECO-ENERGY NATURAL GAS,LLC)       ATTN: GARY W. MARSH                  600 PEACHTREE ST. NE, STE 3000                      ATLANTA          GA   30308
TRUMBULL COUNTY TREASURER OFFICE         ATTN SAM LAMANCUSA, TREASURER                 COUNTY ADMIN BLDG                    160 HIGH ST, NW, FL 2A                              WARREN           OH   44481
TRUNKLINE GAS COMPANY , LLC              KELSI BOWMAN                                  1300 MAIN STREET (P.O.BOX 4967)                                                          HOUSTON          TX   77002
TRUNKLINE GAS COMPANY , LLC              ADAORA OFOMA                                  1300 MAIN STREET (P.O.BOX 4967)                                                          HOUSTON          TX   77002
TRUNKLINE GAS COMPANY , LLC              P O BOX 204037                                                                                                                         DALLAS           TX   75320-4037
TUSCARAWAS COUNTY TREASURER OFFICE       ATTN JEFF MAMARELLA, TREASURER                125 E HIGH AVE                                                                           NEW PHILADELPHIA OH   44663
U.S. ENVIRONMENTAL PROTECTION AGENCY     ATTN OFFICE OF GENERAL COUNSEL 2310A          1200 PENNSYLVANIA AVENUE, NW                                                             WASHINGTON       DC   20460
UNION COUNTY TREASURER OFFICE            ATTN ANDRE J SMARRA, TREASURER                233 W 6TH ST, 2ND FL                                                                     MARYSVILLE       OH   43040
UNITED STATES DEPARTMENT OF JUSTICE      OFFICE OF THE UNITED STATES TRUSTEE           ATTN JEFFERY L. PFRIEM               170 N. HIGH ST. 200                                 COLUMBUS         OH   43215
UNITED STATES DEPARTMENT OF JUSTICE      OFFICE OF THE UNITED STATES TRUSTEE           ATTN KATE M. BRADLEY                 170 N. HIGH ST. 200                                 COLUMBUS         OH   43215
UNITED STATES DEPARTMENT OF JUSTICE      OFFICE OF THE UNITED STATES TRUSTEE           ATTN MARIA D. GIANNIRAKIS            170 N. HIGH ST. 200                                 COLUMBUS         OH   43215
UNITED STATES DEPARTMENT OF JUSTICE      OFFICE OF THE UNITED STATES TRUSTEE           ATTN MARYANNE WILSBACHER, ASST UST   170 N. HIGH ST. 200                                 COLUMBUS         OH   43215
UNITED STATES TRUSTEE                    ATTN: JEREMY SHANE FLANNERY                   US TRUSTEE OFFICE                    170 NORTH HIGH STREET, STE 200                      COLUMBUS         OH   43215
UTILITY CHOICE INTERNATIONAL             ATTN CHRIS THOMPSON                           3960 MEDINA ROAD                                                                         AKRON            OH   44333
VAN WERT COUNTY TREASURER OFFICE         ATTN JEFF MCINTOSH, TREASURER                 VAN WERT COUNTY COURTHOUSE           121 E MAIN ST, STE 200                              VAN WERT         OH   45891
VINTON COUNTY TREASURER OFFICE           ATTN VICKI MAXWELL, TREASURER                 100 E MAIN ST                                                                            MCARTHUR         OH   45651
VOLUNTEER ENERGY SERVICES, INC.          ATTN RICHARD A CURNUTTE SR                    CEO/PRESIDENT                        790 WINDMILLER DRIVE                                PICKERINGTON     OH   43147
VOLUNTEER ENERGY SERVICES, INC.          ATTN DAVID WARNER, CFO                        790 WINDMILLER DRIVE                                                                     PICKERINGTON     OH   43016
VOLUNTEER ENERGY SERVICES, INC.          ATTN JOHN L EINSTEIN, CORPORATE ATTORNEY      790 WINDMILLER DRIVE                                                                     PICKERINGTON     OH   43004
VORYS, SATER, SEYMOUR AND PEASE LLP      (COUNSEL TO PNC BANK, NATIONAL ASSOCIATION)   ATTN: TIFFANY STRELOW COBB           52 EAST GAY ST                   PO BOX 1008        COLUMBUS         OH   43216-1008
VORYS, SATER, SEYMOUR AND PEASE LLP      (COUNSEL TO PNC BANK, NATIONAL ASSOCIATION)   ATTN: CARRIE M. BROSIUS              200 PUBLIC SQUARE, STE 1400                         CLEVELAND        OH   44114
WARREN COUNTY TREASURER OFFICE           ATTN BARNEY WRIGHT, TREASURER                 406 JUSTICE DR                                                                           LEBANON          OH   45036
WASHINGTON COUNTY TREASURER OFFICE       ATTN TAMMY BATES, TREASURER                   205 PUTNAM ST                                                                            MARIETTA         OH   45750
WAYNE COUNTY TREASURER OFFICE            ATTN MELISSA A KOCH, TREASURER                428 W LIBERTY ST                                                                         WOOSTER          OH   44691
WE ENERGIES                              ATTN: CUSTOMER SERVICE                        PO BOX 6042                                                                              CAROL STREAM     IL   60197-6042
WEST VIRGINIA STATE TAX DEPARTMENT       THE REVENUE CENTER                            1001 LEE ST. E                                                                           CHARLESTON       WV   25301
WEST VIRGINIA STATE TAX DEPARTMENT       ALBERT T. SUMMERS CTR STATE OFFICE BLDG       1124 SMITH STREET                                                                        CHARLESTON       WV   25301
WETZEL COUNTY ASSESSOR                   ATTN SCOTT LEMLEY                             WETZEL COUNTY COURTHOUSE             210 MAIN ST.                                        NEW MARTINSVILLEWV    26155
WILLIAMS COUNTY TREASURER OFFICE         ATTN KELLIE GRAY, TREASURER                   1 COURTHOUSE SQ                                                                          BRYAN            OH   43506
WIRT COUNTY ASSESSORS OFFICE             1 COURT SQ                                                                                                                             ELIZABETH        WV   26143
WOOD COUNTY ASSESSOR                     ATTN DAVID NOHE, ASSESSOR                     321 MARKET ST                                                                            PARKERSBURG      WV   26101
WOOD COUNTY TREASURER OFFICE             ATTN JANE SPOERL, TREASURER                   1 COURTHOUSE SQ                                                                          BOWLING GREEN OH      43402
WYANDOT COUNTY TREASURER OFFICE          ATTN FRANKLIN J GRAFMILLER, TREASURER         109 S SANDUSKY AVE                                                                       UPPER SANDUSKY OH     43351
